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                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION

In re:     Taylor, Marcia F                                   §               Case No. 10 B 08089
                                                              §
           Debtor                                             §
                                                              §



            CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT

         Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account of the
         administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:

                    1) The case was filed on 02/26/2010.


                    2) The plan was confirmed on 04/26/2010.


                    3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329
         on (NA).

                   4) The trustee filed action to remedy default by the debtor in performance under the
         plan on 08/16/2010.

                    5) The case was dismissed on 08/16/2010.


                    6)   Number of months from filing or conversion to last payment: 2.


                    7)   Number of months case was pending: 7.


                    8) Total value of assets abandoned by court order: (NA).


                    9) Total value of assets exempted: $9,800.00.


                    10) Amount of unsecured claims discharged without full payment: $0.


                    11) All checks distributed by the trustee relating to this case have cleared the bank.

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    Receipts:
                   Total paid by or on behalf of the debtor                             $360.00
                   Less amount refunded to debtor                                            $0

    NET RECEIPTS:                                                                                                    $360.00



    Expenses of Administration:
                   Attorney's Fees Paid Through the Plan                                $336.96
                   Court Costs                                                               $0
                   Trustee Expenses & Compensation                                       $23.04
                   Other                                                                     $0

    TOTAL EXPENSES OF ADMINISTRATION:                                                                                $360.00

    Attorney fees paid and disclosed by debtor:                     $375.00



    Scheduled Creditors:
    Creditor!                           !                 Claim!          Claim!            Claim!     Principal!          Int.!
    Name                                Class           Scheduled        Asserted          Allowed       Paid              Paid
    American InfoSource LP              Unsecured              NA             $480.10        $480.10            $0                 $0
    Asset Acceptance                    Unsecured          $567.00            $599.62        $599.62            $0                 $0
    Asset Acceptance                    Unsecured          $628.00            $647.11        $647.11            $0                 $0
    Asset Management Out                Unsecured          $231.00               NA               NA            $0                 $0
    Boulder Credit Service              Unsecured          $117.00            $117.24        $117.24            $0                 $0
    Citibank                            Unsecured       $13,707.00               NA               NA            $0                 $0
    Citibank                            Unsecured       $20,929.00               NA               NA            $0                 $0
    City Of Chicago Dept Of Revenue     Unsecured        $1,120.00        $1,386.40        $1,386.40            $0                 $0
    Credit Management Co.               Unsecured          $123.00               NA               NA            $0                 $0
    Discover Financial Services         Unsecured        $2,737.00        $2,737.91        $2,737.91            $0                 $0
    Fields Apartments                   Unsecured          $400.00               NA               NA            $0                 $0
    Illinois Dept Of Employment Security Unsecured       $1,659.00        $1,659.00        $1,659.00            $0                 $0
    Illinois Title Loans                Unsecured        $2,460.27               NA               NA            $0                 $0
    Nicor Gas                           Unsecured          $374.00            $390.34        $390.34            $0                 $0
    Palisades Acquisition LLC           Unsecured              NA             $558.68        $558.68            $0                 $0
    Palisades Acquisition LLC           Unsecured              NA             $763.34        $763.34            $0                 $0
    Professional                        Unsecured          $324.00               NA               NA            $0                 $0
                                                                                                                     (Continued)
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    Scheduled Creditors: (Continued)
    Creditor!                        !                Claim!        Claim!            Claim!           Principal!           Int.!
    Name                             Class          Scheduled      Asserted          Allowed             Paid               Paid
    R & R Country Motors             Unsecured       $4,959.00           NA                 NA                  $0                  $0
    Receivables Management Inc       Unsecured         $850.00      $1,750.00        $1,750.00                  $0                  $0
    Rendered Svc Inc                 Unsecured       $1,530.00           NA                 NA                  $0                  $0
    Resurgent Capital Services       Unsecured       $2,281.00      $2,721.72        $2,721.72                  $0                  $0
    Southern Illinois University     Unsecured       $3,091.80           NA                 NA                  $0                  $0
    Thornwood Apt                    Unsecured              $0           NA                 NA                  $0                  $0
    Weltman Weinberg & Reis Co LPA   Unsecured       $2,718.91           NA                 NA                  $0                  $0




    Summary of Disbursements to Creditors:
                                                                     Claim!                    Principal!            Interest!
                                                                    Allowed                      Paid                  Paid
    Secured Payments:
            Mortgage Ongoing                                                    $0                     $0                        $0
            Mortgage Arrearage                                                  $0                     $0                        $0
            Debt Secured by Vehicle                                             $0                     $0                        $0
            All Other Secured                                                   $0                     $0                        $0
    TOTAL SECURED:                                                              $0                     $0                        $0

    Priority Unsecured Payments:
            Domestic Support Arrearage                                          $0                     $0                        $0
            Domestic Support Ongoing                                            $0                     $0                        $0
            All Other Priority                                                  $0                     $0                        $0
    TOTAL PRIORITY:                                                             $0                     $0                        $0

    GENERAL UNSECURED PAYMENTS:                                     $13,811.46                         $0                        $0



    Disbursements:
                 Expenses of Administration                                     $360.00
                 Disbursements to Creditors                                            $0

    TOTAL DISBURSEMENTS:                                                                                             $360.00

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                12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
      estate has been fully administered, the foregoing summary is true and complete, and all administrative
      matters for which the trustee is responsible have been completed. The trustee requests a final decree
      be entered that discharges the trustee and grants such other relief as may be just and proper.



      Date: September 28, 2010                By: /s/ MARILYN O. MARSHALL
                                                                    Trustee


       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
       Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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